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   8                           UNITED STATES DISTRICT COURT
   9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  11   ANI GHAZARYAN, an individual, ) CASE NO: CV15-09604-RGK (MRWx)
                                     )
  12                                 )
                   Plaintiff,        ) [PROPOSED] ORDER
  13                                 )
             vs.                     )
  14                                 )
       EXPERIAN INFORMATION          )
  15   SOLUTIONS, INC., an Ohio      )
       Corporation; EQUIFAX          )
  16   INFORMATION SERVICES, LLC, )
       a Georgia Limited Liability   )
  17   Company,                      )
                                     )
  18               Defendants.       )
                                     )
  19
  20         TO ALL PARTIES AND THEIR COUNSEL HEREIN:
  21         Based upon the stipulation of the parties, with good cause appearing, IT IS
  22   HEREBY ORDERED that defendant EXPERIAN INFORMATION SOLUTIONS, INC.,
  23   is hereby dismissed with prejudice, with those stipulating parties each bearing their own
  24   fees and costs.
  25         IT IS SO ORDERED.
  26
  27   DATED: December 1, 2016
                                              By:
  28                                                    JUDGE OF THE U.S. DISTRICT COURT

       CV15-09604-RGK (MRWx)                        1             [PROPOSED] ORDER
